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                           UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:
                                                                 Case No. 8:24-bk-00676-RCT
THE CENTER FOR SPECIAL
NEEDS TRUST ADMINISTRATION, INC.,
                                                                 Chapter 11
         Debtor.
                                                /

           OFFICIAL COMMITTEE OF UNSECURED CREDITOR’S
 EXPEDITED MOTION TO DETERMINE AUTOMATIC STAY DOES NOT EXIST, OR
    ALTERNATIVELY, MOTION FOR RELIEF FROM THE AUTOMATIC STAY
           (Preliminary consideration requested May 23, 2024 if possible)

         The Official Committee of Unsecured Creditors (the “Committee”), by and through its

counsel, files this Expedited Motion to Determine Automatic Stay Does Not Exist, or Alternatively

Motion for Relief from the Automatic Stay (“Motion”) and in support thereof states as follows:

                                       Preliminary Statement

         Many of the Center for Special Needs Trust Administration, Inc.’s (“Debtor”) 2,000+

individual trusts, and individual trust relationships if part of pool (i.e., a pooled trust), have regular

payments (the “Payments”) deposited into the Debtor, both pre- and post-petition, on a monthly,

quarterly, annually, or other basis, pursuant to their individual trust agreements, situations, and

associated settlement contracts. Following discovery of the disappearance of over $100,000,000

and the resignation of the Debtor’s high-level employees, Michael Goldberg was appointed as

chapter 11 trustee (“Trustee”) to (1) oversee the wind down of the Debtor’s business, (2) ascertain

ownership (or loss) of trust property as to each of the 2,000+ individual trusts from trust property,

and (3) pursue recovery of the “missing” funds.

         As a result of the missing property, and despite the strong reputation of the Trustee, many

beneficiaries, their fiduciaries (if applicable), and their families are not willing to continue to have
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Payments paid to and received by the Debtor. In fact, some have already removed the Debtor as a

trustee (or as a co-trustee) with respect to new Payments only or have begun to deposit new

Payments into Non-Debtor Accounts, 1 such as guardianship accounts or other special needs trust

accounts, for safekeeping.

         Problematically, however, certain “payers” (i.e., annuity companies) have withheld or

threatened to withhold Payments to Non-Debtor Accounts until they receive an order from this

Court confirming that removal of the Debtor as trustee with respect to new Payments only, or

depositing Payments into Non-Debtor Accounts, is not a violation of the automatic stay.

         Even assuming that somehow complying with individual trust agreements or depositing

Payments into Non-Debtor Accounts were a violation of the automatic stay, good cause exists to

grant relief from the automatic stay (1) to confirm termination or removal of the Debtor as trustee

consistent with applicable trust documents and/or applicable state law in connection with new

Payments only is not a violation of the automatic stay and (2) to confirm that the deposit of all

post-petition Payments into Non-Debtor Accounts is not a violation of the automatic stay. To be

clear, this Motion does not seek to extract, remove, or address funds currently held by the

Debtor on behalf of beneficiaries, which the Trustee and his professionals are still analyzing.

Any beneficiaries or fiduciaries who choose to terminate or remove the Debtor as trustee with

respect to new Payments only or place new Payments into Non-Debtor Accounts will do so at their

own risk. The Trustee does not oppose the relief requested herein.




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  “Non-Debtor Accounts” means accounts where the Debtor is not identified as the trustee of a particular trust or
where the account is not an account associated with the trust of which Debtor was and/or is the trustee or fiduciary,
such as a guardianship account or a different trust.
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                                                  Jurisdiction

           1.      This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is proper in this District

pursuant to 28 U.S.C. § 1408.

                                                  Background

           2.      On February 9, 2024, the Debtor filed a voluntary chapter 11 petition (Doc. No. 1)

(“Petition Date”). The Debtor was an administrator of special needs trusts across the country prior

to filing bankruptcy. Prepetition, it was discovered that over $100,000,000 was missing from

beneficiaries’ accounts.

           3.      On March 4, 2024, the United States Trustee filed its Notice of Appointment of

Official Unsecured Creditors Committee (Doc. No. 75) thereby giving notice of the appointment

of the Committee. 2

           4.      On March 21, 2024, the Court appointed Michael Goldberg as the chapter 11

Trustee (Doc. No. 109).

           5.      Further information regarding the Debtor’s history, business operations, and the

events leading up to the commencement of this chapter 11 case can be found in the Case

Management Summary (Doc. No. 7).

           6.      Many beneficiaries continue to receive, or are supposed to receive, Payments on an

ongoing and regular basis (monthly, quarterly, annually, etc.) into their individual trust accounts.

Despite the appointment of the Trustee, certain beneficiaries wish to remove the Center as trustee

in accordance with their trust agreements and place their funds elsewhere.



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    The Committee and the notice were subsequently amended at Doc. Nos. 76 and 87.
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       7.      The Trustee has repeatedly articulated that the Debtor does not deserve to be in the

business of trust administration. Recently, the Trustee has stated he has identified a replacement

trust administrator to take over the actual trust administration of the 2,000+ individual trusts where

the Debtor is still identified as the trustee. However, a process that enables trust beneficiaries to

opt out and move their funds may take some time. Beneficiaries have asked the Committee to take

immediate action to facilitate this process to avoid having to put new and “clean” Payments into

the Center, which is still working through the accounting of how much is in each beneficiary’s

account.

       8.      Understandably, while the Trustee has assured beneficiaries (and/or their fiduciaries

(because many of the beneficiaries are cognitively impaired)) that those who were in control of the

Debtor when trust assets went “missing” no longer control individual trust property, many

beneficiaries are still quite uncomfortable with having new Payments received by, held by,

administered by, and distributed by the Debtor.

       9.      Some beneficiaries have, post-petition, taken action to appoint successor trustee

pursuant to their induvial trust documents or under applicable state law. To avoid any confusion

that the automatic stay applies, the Committee seeks confirmation that the automatic stay has not,

and will not be violated where 1) actions are or were previously taken pursuant to and in

compliance with applicable terms, documents and provisions within individual trusts to remove

the Debtor as trustee with respect to new Payments only, 2) actions are or were previously taken

pursuant to state law to remove the Debtor as the trustee of a particular individual trust with respect

to new Payments only, or 3) Payments are or were previously deposited into a Non-Debtor Account

post-petition. Again, to be clear, the Committee is not seeking any form of relief to remove the

Debtor as trustee or force an accounting of funds the Debtor or Trustee are currently holding;
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rather, this Motion only seeks to permit beneficiaries to ‘take their new Payments’ elsewhere, at

their own risk.

       10.        Violations of the automatic stay, even unfounded allegations, have serious

consequences for beneficiaries, especially beneficiaries who have “special needs” and are

physically and/or cognitively impaired. The Committee has become aware that some payors under

structured settlement annuity contracts have withheld Payments to accounts where the Debtor is

identified as a trustee or fiduciary (such as non-Debtor conservatorship, guardianship, or trust

accounts) due to concerns that the automatic stay has been violated. “Payers” of these vitally

important and crucial Payments have also asked (albeit indirectly) for an Order from this Court

determining that the automatic stay has not, nor will be, violated as a result of new Payments being

deposited into a Non-Debtor Account.

                                           Relief Sought

       11.        Section 11 U.S.C. § 362(d)(1) and (2) provide that, upon request of a party in

interest, the court shall grant relief from the automatic stay for “cause.”

       12.        Cause exists here to permit beneficiaries to remove the Debtor as a trustee with

respect to new Payments only, or to cause new Payments to be placed in Non-Debtor Accounts.

First, the Debtor has indicated it will be appointing a new trust administrator who will take over

the day-to-day administration of “trust property” while the Debtor winds down and liquidates. The

Trustee is not in the trust administration business, and there is no reason why beneficiaries need to

wait to have their new Payments placed elsewhere if they choose.

       13.        Second, permitting an individual trust to receive Payments into a non-Debtor

Account does not affect the Debtor or the Debtor’s bankruptcy estate in any way, other than to

reduce assets under management of the Debtor, that is liquidating and exiting the business.
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       14.     Third, the Trustee’s obligations to continue to administer and account for “trust

property” should not be affected by new Payments into non-Debtor accounts. The Debtor will

continue to administer only assets under its control in accordance with this Court’s orders, see e.g.

Doc. No. 176, and the Debtor should be relieved of any and all fiduciary duties (and liabilities)

with respect to new Payments deposited into non-Debtor accounts. Beneficiaries who wish to

deposit new Payments into Non-Debtor Accounts or remove the Debtor as a trustee or co-trustee

with respect to new Payments only will do so at their own risk.

       15.     In filing this Motion, the Committee merely seeks to ensure that beneficiaries may,

in accordance with their existing trust agreements and applicable state law, direct “new money”

trust receipts into Non-Debtor Accounts without violating the automatic stay, and that acts to

remove the Debtor as trustee and appoint a successor in accordance with the express terms of trust

agreements and applicable state law with respect to new Payments only, are not violations of the

automatic stay. The Trustee does not oppose the relief requested herein.

       16.     Each individual trust and/or each beneficiary of an individual trust seeking to

terminate or remove the Debtor as trustee with respect to new Payments only or have new Payments

deposited into a Non-Debtor Account shall do so as his or her own peril and risk, and neither the

Committee, the Trustee, the Debtor, nor any of their agents, attorneys, representatives, employees,

directors, officers, successors, and assigns, shall be responsible or liable for any and all actions,

causes of action, suits, claims, demands, liabilities, obligations, damages, costs, expenses, resulting

from any beneficiaries taking such action. ANY BENEFICIARY CONSIDERING DEPOSITING

TRUST PROCEEDS INTO A NON-DEBTOR ACCOUNT, OR REMOVING THE DEBTOR AS

TRUSTEE WITH RESPECT TO NEW PAYMENTS ONLY, ARE ENCOURAGED TO CONSULT
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WITH LEGAL COUNSEL BEFORE DOING SO TO AVOID RISK OF LOSS OF MEANS-

TESTED GOVERNMENTAL BENEFITS OR ADVERSE LEGAL CONSEQUENCES.

       WHEREFORE, the Committee respectfully requests the entry of an order 1) granting this

Motion, 2) determining that the deposit of new Payments into Non-Debtor Accounts (retroactive

to the Petition Date) does not violate the automatic stay, 3) determining that removal of the Debtor

as trustee and appointment of a successor trustee pursuant to individual trust agreements and state

law (retroactive to the Petition Date) with respect to new Payments only are not violations of the

automatic stay, and 4) and for all other things the Court finds just and proper.

                                               /s/ Megan W. Murray_______________
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                                                      Counsel to the Committee

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and accurate copy of the foregoing, that was filed with
the Clerk of Court, has been furnished electronically to those parties registered to receive service
via CM/ECF, including the United States Trustee, the Trustee, and Debtor’s counsel, on May 21,
2024.

                                              /s/ Megan W. Murray_______________
                                              Megan W. Murray
